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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                      )
                                              )
            v.                                )       Crim. No. 07-181 (EGS)
                                              )
ZHENLI YE GON, defendant.                     )



                                     MOTION TO DISMISS

       COMES NOW the United States of America, by and through Paul O’Brien, Chief,

Narcotic and Dangerous Drug Section, and moves to dismiss, without prejudice, the one count

indictment and its accompanying criminal forfeiture allegation.

                                 Summary of Relief Requested

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States

moves to dismiss, without prejudice, the one count superseding indictment and its accompanying

criminal forfeiture allegation. For the reasons set out below, the District Court should grant the

motion to dismiss, without prejudice.

                                        Background

        Defendant was arrested near Baltimore, Maryland in July 2007. Shortly thereafter, a

grand jury in Washington, D.C. returned a one-count indictment charging defendant with

conspiracy to aid and abet the manufacture of 500 grams or more of a mixture or substance

containing methamphetamine, knowing or intending that the methamphetamine would be

imported into the United States, in violation of Title 21, United States Code, Sections 959, 960,


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and 963, and Title 18, United States Code, Section 2. The grand jury also returned a criminal

forfeiture allegation.   On November 26, 2008, the grand jury returned a superseding indictment

which amended the dates of the charged conspiracy. Trial is presently scheduled to begin on

September 14, 2009.

        On or about June 9, 2008, Mexico formally requested extradition of the defendant, a

citizen of Mexico (and China) who had lived in Mexico since the early 1990's. On September

15, 2008, the United States filed an extradition complaint now before the Honorable John M.

Facciola, United States Magistrate Judge of the United States District Court for the District of

Columbia. The Magistrate Judge has not yet concluded whether defendant should be extradited

to Mexico, but a hearing scheduled for June 18, 2009 was continued to August 26, 2009.

Defendant is charged in Mexico with organized crime, importation and manufacture of

psychotropic substances and diversion of essential chemicals used to produce narcotics,

violations of firearms laws, and money laundering. On June 13, 2007, a Mexican arrest warrant

was issued for the defendant. The Mexican offenses are extraditable offenses as set out in the

Extradition Treaty between the United States and Mexico.

                                           Law

        Pursuant to Rule 48(a), Federal Rules of Criminal Procedure, the government may, with

leave of the Court, dismiss an indictment. The District Court should review the motion to

dismiss to ensure it is not “clearly contrary to manifest public interest”. Rinaldi v. United States,

434 U.S. 22, 30 (1977). The prosecutor should provide a statement of reasons and underlying

factual basis for the motion to dismiss. United States v. Ammidown, 497 F.2d 615, 619-621

(D.C. Cir. 1974). There is in the this district a strong presumption in favor of dismissal without


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prejudice. United States v. Poindexter, 719 F.Supp. 6, 10 (D.D.C. 1989). Dismissal “without

prejudice is not a toothless sanction: it forces the Government to obtain a new indictment if it

decides to reprosecute, and it exposes the prosecution to dismissal on statute of limitations

grounds.” United States v. Ferguson, 565 F.Supp. 2d 32, 48 (D..D.C. 2008).

                                        Reasons to Dismiss

       The United States and Mexico both have significant and separate interests in prosecuting

the defendant. The defendant is charged in Mexico with directing a criminal organization for the

purpose of committing drug crimes and laundering money; importing, transporting, and

manufacturing controlled psychotropic substances, and possessing controlled psychotropic

substances, for the purpose of producing methamphetamine precursor chemicals; diversion of

essential chemicals to produce methamphetamine precursor chemicals; unlawful possession of

firearms; and money-laundering. He is charged in the United States with conspiracy to aid and

abet the manufacture of methamphetamine, knowing and intending it would be imported into the

United States. Both the Mexican and United States’ charges carry substantial prison sentences.

Although the Mexican and United States’ cases are based on legally and factually distinct

offenses, the conduct with which the defendant is charged in the U.S. case occurred largely

within the territory of Mexico and much of the evidence and witnesses upon which the

government would rely are from Mexico.

       The prosecution of this case in Mexico is of considerable public interest and is important

to Mexico’s counter-narcotics policy. The case has been cited by Mexican President Felipe

Calderon as a major development in Mexico’s war on drug traffickers. It is among the most

significant cases that Mexico has brought as part of its strong enforcement actions against the


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illicit importation and manufacture of methamphetamine precursor chemicals. The defendant’s

criminal conduct in Mexico involved multi-ton quantities of methamphetamine precursor

chemicals and millions of dollars in illicit drug proceeds. Mexican authorities seized more than

$200 million in U.S. currency from the defendant’s home in Mexico City -- believed to be the

largest seizure of illicit drug proceeds in law-enforcement history.

       The government of Mexico has filed an ample and well documented request for the

defendant’s extradition which is currently before U.S. Magistrate Judge John M. Facciola. The

extradition request reflects the compelling and strong nature of the evidence in the Mexican case.

If the U.S. trial goes forward, there would be, in all likelihood, a significant delay before all

extradition litigation could be concluded and the fugitive could be surrendered to Mexico. In

addition, as to the criminal case in the United States, with one key witness in the criminal case

having stated that previous statements made about the defendant were untrue and another key

witness in the criminal case having expressed an unwillingness to testify, the United States has

evidentiary concerns in light of these changed circumstances. The government believes the

interests of justice and the United States’ ongoing collaborative efforts with the Government of

Mexico to combat international drug trafficking are best served by giving precedence to the

Mexican prosecution. Therefore, the United States moves to dismiss its criminal case.

       There remains in the District of Columbia a strong presumption in favor of dismissing

without prejudice. Subsequent prosecution would not be contrary to the public interest. If for

some reason Mexico did not or could not prosecute the defendant, the United States would have

a compelling interest to reinstitute prosecution. As the District Court in Ferguson pointed out,

dismissal without prejudice is not a “toothless sanction”, as any attempt to reinstitute charges


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would require a new indictment, a consideration of the statute of limitations, and recourse to the

Speedy Trial Act.

        WHEREFORE, the United States respectfully asks the Court to grant the motion and

dismiss the indictment without prejudice.



.                                            Respectfully submitted,

                                             ___/s/____________________________
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                                             Wanda Dixon
                                             Robert Stapleton
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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing motion was emailed to counsel for defendant,
on June 22, 2009.



                                            Paul W. Laymon
                                            Trial Attorney, DOJ




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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                    )
                                            )
              V.                            )       Crim. No. 07-181 (EGS)
                                            )
ZHENLI YE GON                               )
                                            )
                                            )


                                           ORDER

         Upon motion by the United States, and for good cause shown, the indictment in the

above captioned case is hereby dismissed without prejudice.




DATE: ______________

                                                    ____________________________

                                                    JUDGE

                                                    UNITED STATES DISTRICT COURT




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